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 8
                                    UNITED STATES DISTRICT COURT
 9
                                 NORTHERN DISTRICT OF CALIFORNIA
10
                                            SAN FRANCISCO DIVISION
11
     CRYSTAL DAMATO, AMANDA                              CASE NO.
12   MONTGOMERY, and TAYLOR
     MAXWELL, individually and on behalf of              CLASS ACTION COMPLAINT:
13
     all others similarly situated,
14                                                       1. BREACH OF IMPLIED WARRANTY
                               Plaintiff,                2. UNJUST ENRICHMENT
15                                                          (In the Alternative)
                                                         3. VIOLATION OF CALIFORNIA FALSE
16          v.                                              ADVERTISING LAW, Cal. Bus. & Prof.
                                                            Code § 17500, et seq.
17
                                                         4. VIOLATION OF CALIFORNIA LEGAL
18   MORPHE LLC., MORPHE                                    REMEDIES ACT, Cal. Bus. & Prof. Code §
     MANAGEMENT HOLDINGS LLC,                               1750, et seq.
19   FORMA BRANDS LLC, FORMA                             5. VIOLATION OF CALIFORNIA UNFAIR
     BEAUTY BRANDS LLC.                                     COMPETITION LAW, Cal. Bus. & Prof.
20                                                          Code § 17200, et seq.
                               Defendant.                6. NEGLIGENT FAILURE TO TEST
21
                                                         7. NEGLIGENT FAILURE TO WARN
22                                                       8. STRICT LIABILITY – DEFECTIVE
                                                            DESIGN AND/OR MANUFACTURE
23
24
            Plaintiffs Crystal Damato, Amanda Montgomery, and Taylor Maxwell (“Plaintiffs”) bring
25
     this Class Action Complaint against MORPHE, LLC, d/b/a Morphe Cosmetics, Morphe Brushes,
26
     and Morphe 2, FORMA BRANDS LLC, FORMA BEAUTY BRANDS LLC, MORPHE
27
     MANAGEMENT HOLDINGS LLC (collectively, “Defendants”), individually and on behalf of
28
                                              CLASS ACTION COMPLAINT
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 1   all others similarly situated, and complain and allege upon personal knowledge as to themselves

 2   and their own acts and experiences and, as to all other matters, upon information and belief,

 3   including investigation conducted by their attorneys:

 4
                                          NATURE OF THE ACTION
 5
            1.       This is a civil class action concerning Defendants’ design, formulation,
 6
     manufacture, marketing, advertising, distribution, and sale of eye makeup that contains color
 7
     additives and ingredients that are dangerous when used on the immediate eye area.
 8
            2.       Morphe Eye Makeup has a propensity to cause adverse reactions, including but
 9
     not limited to, severe eye irritation, skin discoloration and staining, rashes, allergic contact
10
     dermatitis, and related conditions requiring professional medical treatment. Many of these
11
     symptoms are painful, embarrassing, and last for several days. Plaintiffs applied Morphe Eye
12
     Makeup as instructed and encouraged by Defendants and suffered physical injuries as a result of
13
     using the Products, including painful eye irritation, skin discoloration and staining, rashes, and
14
     inflammation.
15
            3.       The products at issue include eyeshadow palettes (which Defendants sometimes
16
     refer to and promote as “artistry palettes”), eyeliners, and Colorfix 24-hour Cream Color that are
17
     formulated with and/or contain certain color additives that are not safe for use in the eye area
18
     (collectively “Morphe Eye Makeup” or “Products”). Specifically, the Products are inherently
19
     dangerous because they are formulated with and/or contain the following color additives: FD&C
20
     Red No. 4; D&C Red No. 6, 7, 17, 21, 22, 27, 28, 30, 31, 33, 34, 36; D&C Violet No. 2; Ext.
21
     D&C Violet No. 2; FD&C Yellow No. 6; D&C Yellow No. 7, 8, 10, 11; Ext. D&C Yellow No.
22
     7; D&C Orange No. 4, 5, 10, 11; D&C Green No. 6, 8; FD&C Green No. 3; D&C Brown No. 1;
23
     and D&C Blue No. 4 (“Harmful Ingredients”).
24
            4.       The United States Food and Drug Administration (“FDA”) is responsible for
25
     approving individual color additives and setting usage restrictions. In addition to being inherently
26
27
28
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 1   dangerous, each of the Harmful Ingredients is designated by the FDA as unsuitable and

 2   unapproved for cosmetic use in the eye area (“Harmful Ingredients”).1

 3           5.      The Harmful Ingredients render Morphe Eye Makeup unsafe for use in the eye

 4   area (the “Defect”), and the Products are both adulterated and misbranded under the federal Food,

 5   Drug, and Cosmetics Act (“FDCA”). Accordingly, it is unlawful for Defendants to advertise,

 6   promote, market, or sell Morphe Eye Makeup. Nonetheless, Defendants’ marketing, advertising,

 7   public statements, social media posts and videos, training manuals, and online tutorials encourage

 8   and instruct consumers to use the Products in the eye area.

 9           6.      Morphe Eye Makeup has no reasonable use other than cosmetic application in the

10   eye area, and Products are worthless by virtue of the Defect.

11           7.      Plaintiffs bring this lawsuit on behalf of consumers who purchased Morphe Eye

12   Makeup for personal cosmetic use and seek damages and equitable remedies for themselves and

13   the putative Class (defined infra ¶ 165).

14           8.      Defendants actively instructed and encouraged consumers, including children, to

15   use the Products in a manner which Defendants knew or should have known was inherently

16   dangerous and unlawful.

17           9.      Defendants have undertaken a deliberate and willful pattern of conduct (including

18   taking active measures) aimed at deceiving consumers, including Plaintiffs, into believing that

19   Morphe Eye Makeup is safe for its intended use: cosmetic application around the eye area.

20           10.     At all relevant times, Defendants knew about the Defect, but nevertheless

21   marketed, advertised, and sold Morphe Eye Makeup for use around the eyes without warning

22   consumers of the known dangers.

23           11.     As a direct and proximate result of Defendants’ concealment of the Defect and its

24   failure to warn consumers about its harmful consequences, Plaintiffs and other similarly situated

25   consumers (“Class” or “Class Members”) purchased and/or used the Product to their detriment.

26           12.     Plaintiffs and putative Class Members were unaware of the Defect at the time they

27   purchased the Products. Had Plaintiffs and Class Members known that Morphe Eye Makeup

28   1 Corresponding lakes are not FDA approved for use around the eye area unless stated in federal regulations.

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 1   contains a Defect rendering it unfit for its intended purpose, they would not have purchased the

 2   Products or would have paid substantially less.

 3          13.     Plaintiffs and all putative Class Members purchased Morphe Eye Makeup which

 4   suffered from the same Defect at the point of sale, and poses substantially the same safety risk to

 5   Plaintiffs, putative Class Members, consumers, and the public.

 6          14.     Plaintiffs and each putative Class Member has been damaged and suffered an

 7   injury in fact caused by Defendants’ false, fraudulent, unfair, deceptive, and misleading practices,

 8   as set forth herein, and seek compensatory damages and injunctive relief.

 9          15.     Given the massive quantities of Morphe Eye Makeup believed to have been sold

10   online and in retail locations throughout the country, this class action is the proper vehicle for

11   addressing Defendants’ misconduct and for attaining needed relief for those affected.

12                                       JURISDICTION AND VENUE

13          16.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

14   §§ 1332 and 1367 because this is a class action in which the matter or controversy exceeds the

15   sum of $5,000,000, exclusive of interest and costs, and in which some Members of the putative

16   Classes are citizens of a state different from Defendants.

17          17.     This Court has personal jurisdiction over Defendants because Defendants transact

18   business in the United States, including in this District, have substantial aggregate contacts with

19   the United States, including in this District, engaged in conduct that has and did have a direct,

20   substantial, reasonably foreseeable, and intended effect of causing injury to persons throughout

21   the United States, and purposely availed itself of the laws of the United States and the State of

22   California.

23          18.     In accordance with 28 U.S.C. § 1391, venue is proper in this District because this

24   District is where a substantial part of the conduct giving rise to Plaintiffs’ claims occurred and

25   where Defendants transact business.

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 1                                 INTRADISTRICT ASSIGNMENT
            19. This action is properly assigned to the San Francisco Division of this District pursuant
 2
     to N.D. Cal. L.R. 3-2, because Morphe LLC’s principal place of business is in San Francisco
 3
 4   County, which is served by the San Francisco Division. Moreover, Morphe conducts substantial

 5   business in San Francisco County, which is served by this Division.
 6
                                                    PARTIES
 7
     Plaintiffs
 8
            20.       Crystal Damato is a resident of Rodeo, California, who purchased and used
 9
     Morphe Eye Makeup within the relevant time period.
10
            21.       Amanda Montgomery is a resident of San Diego, California who purchased and
11
     used Morphe Eye Makeup within the relevant time period.
12
            22.       Taylor Maxwell is a resident of Wahiawa, Hawaii who purchased and used
13
     Morphe Eye Makeup within the relevant time period.
14
     Defendants
15
              23. The Morphe Brand was founded in 2008 in Los Angeles, California, as a
16
     professional makeup brush company and was later incorporated in the State of Delaware as
17
     MORPHE, LLC.
18
              24. MORPHE LLC, d/b/a Morphe, Morphe Cosmetics, and Morphe 2 (“Morphe”), is
19
     registered as a foreign limited liability company in the State of California and has its principal
20
     place of business at 22 4th Street, Floor 4, San Francisco, California, 94103.2
21
                  25. Morphe, under its own brand and related sub-brands, designs, formulates,
22
     manufactures, markets, advertises, distributes, and sells a wide range of consumer cosmetic
23
     products including but not limited to, eye shadow, eyeliner, eyelid primer, and eyebrow pencils.3
24
25
26
27
     2 https://businesssearch.sos.ca.gov/Document/RetrievePDF?Id=201701410013-21746227
28   3 See generally https://www.morphe.com/ (last accessed Mar. 3, 2022).

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 1              26. FORMA BEAUTY BRANDS LLC is incorporated in California with its principal

 2   place of business at the same location as MORPHE LLC, 22 4th Street, Floor 4, San Francisco,

 3   California, 94103.4

 4              27. FORMA BRANDS LLC is the parent company of MORPHE LLC and owns

 5   and/or controls several different affiliated brands and/or product lines, including: Morphe,

 6   Morphe 2,5 Bad Habit, Lipstick Queen, Playa Beauty, and Jaclyn Cosmetics.

 7              28. MORPHE MANAGEMENT HOLDINGS, LLC is incorporated in Delaware and

 8   is the parent company of FORMA BRANDS LLC.

 9              29. MORPHE, LLC; FORMA BRANDS LLC; FORMA BEAUTY BRANDS LLC;

10   and MORPHE MANAGEMENT HOLDINGS, LLC; (collectively “Defendants”) design,

11   formulate, manufacture, market, advertise, distribute, and sell the Products.

12                                              THE PRODUCTS

13           30.      Morphe Eye Makeup is sold at retail locations throughout the United States,

14   including Morphe Cosmetics stores and Ulta Beauty stores, and the Products are also available

15   for purchase online at www.morphe.com and through third-party retailers’ websites.6

16           31.      The Products that are the subject of this lawsuit include eyeshadow palettes, which

17   Defendants sometimes refer to as “artistry palettes,” eyeliners, “cream color products,” and other

18   categories of products that Defendants have promoted or advertised for use in the eye area during

19   the maximum time period allowed by law.7

20
     4 https://businesssearch.sos.ca.gov/CBS/Detail
21   5 MORPHE 2, sometimes d/b/a MORPHE II, is a “sub-brand of Morphe” which produces “multipurpose
     makeup” products. https://formabrands.com/brands/morphe-2/ (last accessed Mar. 8, 2022).
22   6 https://www.ulta.com/brand/morphe?N=1z12lx1Z1nofvi2 (last accessed Mar. 4, 2022).
23   7 James Charles Palette, Morphe X Sour Patch Kids Palette, 35T Sweetest Tea Palette, Mickey & Friends
     Truth Be Bold Palette, 9x L’il Artistry Palette, We Make Rainbows Jealous Palette, UV Grunge Palette,
24   UV Taffies Palette, UV Brights Palette, Coca-Cola X Morphe Cheerfully Cherry Palette, Morphe X Nyane
     Fierce Fairytale Artistry Palette, Morphe X Make It Black 18 Pan Artistry Palette, Morphe X Lucky Charms
25   Make Some Magic Artistry Palette, Morphe X Pony Constellation Sky Artistry Palette, 35O Supernatural
     Glow Artistry Palette, 35XO Natural Flirt Artistry Palette, 18T Truth or Bare Palette, 35C Everyday Chic
26   Palette, 9Y Heart Candy Artistry Palette, 9B Calm Me Baby Palette, Morphe X Ashley Strong Affirmation
     Magic Artistry Palette, 35F Fall Into Fabulous Artistry Palette, 9E Pretty in Peach Palette, 9H Hot for Hue
27   Artistry Palette, 9K Khaki Calling Artistry Palette, 9V Vintage Rose Artistry Palette, 9W Smoke & Shadow
     Artistry Palette, 9S So Chill Artistry Palette, 9D Painted Desert Artistry Palette, 18F Talkin’ Flirty Artistry
28
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 1          32.      The Products, which are sold online at www.morphe.com/collections/eyeliner and

 2   www.morphe.com/collections/eyeshadow, are all: (1) advertised and marketed by Defendants for

 3   cosmetic use on the eye area (as eyeliner or eyeshadow); (2) are reasonably interpreted as safe

 4   and suitable for use in the eye area; and (3) purchased and used by consumers for cosmetic use

 5   on the eye area even though such use is dangerous and prohibited under FDA regulations.

 6   Defendants’ Eyeshadow Palettes

 7          33.      All consumer-facing advertising, marketing, and promotional communication by

 8   Defendants instructs and encourages consumers to use and apply Morphe Eyeshadow Palettes in

 9   the eye area.

10          34.      There are currently 49 different variations of Morphe Eyeshadow Palettes

11   available for purchase at www.morphe.com/collections/eyeshadow-palettes, 43 of which are

12   formulated with and contain color additives that are prohibited for use around the eye area.8

13          35.      Morphe Eyeshadow Palettes generally cost $20.00 to $39.00, and each product

14   contains between 4-35 distinct colors or shades (“Color Pans”) which Morphe refers to and

15   categorizes as either “pressed pigments” or “eyeshadow.”

16          36.      Pressed pigments are indistinguishable from eyeshadow, and pressed pigments’

17   only reasonable and foreseeable use is cosmetic application in the eye area.

18   Palette, 18B Makin’ Bank Artistry Palette, 18A Blue Ya Away Artistry Palette, Morphe X Lisa Frank 35B
     By Lisa Frank Artistry Palette Zoomer & Zorbit, Morphe X Lisa Frank 35B By Lisa Frank Artistry Palette
19   Prancing Unis, Morphe X Lisa Frank 35B By Lisa Frank Artistry Palette Forrest, Madison Beer Channel
     Surfing Artistry Palette, Morphe X Jaclyn Hill Volume 2, 35O3 Fierce By Nature Artistry Palette, 35M
20   Boss Mood Artistry Palette, 39S Such a Gem Artistry Palette, 35H Hot Spot Artistry Palette, Magic +
21   Ecstasy Palette, 35V Stunning Vibes Artistry Palette, Colorfix 24-Hour Cream Color (Shades Nebula,
     Alien, Ballerina, Goldmine, Celebration, Magnetic, Wild Orchid, Exposed, Nude 3, Latte, Desert Rose,
22   Crème Brulee, Chocolate, Blackout, Lift, Beaches, Valentine, Clear, Wasabi, UFO), Suva Beauty Hydra
     FX Liners (Shades Doodle Dee, Doodle Doo, Bomb AF, Scrunchie, Dance Party, Fanny Pack, Track Suit,
23   Acid Trip, Lustre Lilac), M2 Always Online Gel Liner (Shades Fierce Fuchsia, Berry Lush), Color Pencil
     (Shades Coconut, Pearly, Fantasy, Love Bite, Pinken, All Night, Harper, Faith, Extra, Lock It, Poolside,
24   Falling for Green, Everlasting, Sparkler, Laurel, Dusty, Jemma, Coin, Regal, Caviar, Editorial, Secret,
     Toastie, Trendsetter, Vibes, Saint, Richie, Bar, Midnight, Dark Room, Toots, Bamboo, Fairy Dust, Sun
25   Kissed, Backseat, Love, Mimi, Foolish, Bae, Frenchie, Honeymoon, Chippy, Sweetheart, Guide Me,
     Clingy, Makeup Talk, Spiffy, Coffee & Kissy, Sweet Tea, Bite Me, Forecast, Show Stopper, Bubble, Zippy,
26   Crush, Ginger, Twinkle, Hoova, Petal, Studded, BFF, Sugar Pie, Mina, Linda, Scarlet, Blossom, High
     Maintenance, Fashionista, Wine Me, Heckle, Date Night, 9to5, High Voltage, It’s Vintage, Love Life, Lush
27   Worthy, Well Red), P. Louise Bases (Shades Vivid Violet, Winter Rose, OTT Orange, Rude Boy Red,
     Blank Canvas, Raver, Ibiza, Glow Girl).
28   8 https://www.morphe.com/collections/eyeshadow-palettes (last accessed Mar. 4, 2022).

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 1          37.     Defendants’ attempt to recategorize dangerous and defective eyeshadow under this

 2   euphemism which confuses consumers and fraudulently misrepresents a known danger.

 3          38.     Morphe knows, or should have known, that Plaintiffs and consumers are likely to

 4   be misled by the phrase “pressed pigment” because: (1) the Products are packaged, marketed, and

 5   sold as eye shadows; (2) there is no generally understood meaning of the phrase pressed pigment;

 6   (3) Defendants’ website does not explain how pressed pigments differ from eyeshadow; and (4)

 7   Defendants’ promotional images, tutorials, and other advertising materials instruct and encourage

 8   “pressed pigments” to be used for cosmetic application in the eye area.

 9   Other Products intended for use in the Eye Area

10          39.     Morphe Eye Makeup includes other products that are marketed, sold, advertised,

11   or promoted for use in the eye area and which contain Harmful Ingredients, including but not

12   limited to: Morphe Gel Liner; Morphe Color Pencils; Morphe 2 Eye Wish Shadow Sticks;

13   Danessa Myricks Beauty Colorfix 24-Hour Cream Color (Neons, Matte, & Metallic variations);

14   Suva Beauty Hydra FX (Palettes, Packs, and Individually Packaged Shades).

15          40.     All consumer-facing advertising, marketing, and promotional communication by

16   Defendants instruct and encourage consumers to use and apply the Morphe Eye Makeup for

17   cosmetic use on and around the eye area.

18          41.     For example, Figure 1 depicts a model wearing Colorfix 24-Hour Cream Color

19   Neons in the shade “UFO” (neon yellow) even though it contains several Harmful Ingredients,

20   specifically, Red 27 Lake (CI 45410), Red 6 Lake (CI 15850), Red 7 (CI 15850), Yellow 6 Lake

21   (CI15985), and Red 21 Lake (CI 45380).9 Figure 2 depicts a model wearing Colorfix 24-Hour

22   Cream Color Mattes in “Valentine” (bright pink) in the eye area even though it contains several

23   Harmful Ingredients, specifically, Red 7 Lake (CI 15850), Red 27 Lake (CI 45410), Red 22 Lake

24   (CI 45380), and Yellow 6 Lake (CI 15985).

25
26
27
     9   https://www.morphe.com/collections/danessa-myricks-beauty/products/colorfix-24-hour-cream-color-
28
         neons-ufo
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13         Figure 1. Depicts Colorfix 24-Hour Cream Color in “UFO.”
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         Figure 2. Depicts Colorfix 24-Hour Cream Color Mattes in “Valentine.”
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              Figure 3. Front Label of Colorfix 24-Hour Cream Color Mattes in Valentine.
15
16
            42.     The front label of the Product used and depicted in Figure 3, Colorfix 24-Hour
17
     Cream Color, clearly states that it is “Liquid Pigment Lip, Cheek, Eye Color” (see Figure 3), and
18
     its online description page states that it is “Made for eyes, lips, and cheeks, a long-wearing liquid
19
     glitter formula for a bold shimmer.” (www.morphe.com/products/colorfix-matte-valentine). In
20
     the “How to Apply” section of the Product’s webpage, Defendants instruct consumers to: “Use
21
     alone for bold pigment on eyes, lips, and cheeks, mix colors to create your own shade, or combine
22
     with complexion products to create a waterproof finish.”10
23
               THE PRODUCTS VIOLATE STATE AND FEDERAL REGULATIONS
24
            43.     Defendants have engaged in unfair, unlawful, and fraudulent business conduct by
25
     formulating, manufacturing, distributing, marketing, advertising, and selling Morphe Eye
26
     Makeup because the Products: (1) contain color additives that make them unreasonably dangerous
27
28   10 www.morphe.com/products/colorfix-matte-valentine

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 1   for their sole and intended purpose; (2) are misbranded, mislabeled, and adulterated; and (3) are

 2   illegal to sell, advertise, or promote for cosmetic application and use in the eye area.

 3           44.      Both the FDA and California Health & Safety Code tightly regulate color

 4   additives for use in cosmetic products.11

 5           45.     “If your product . . . contains a color additive, by law12 you must adhere to

 6   requirements for:
             a. Approval. All color additives used in cosmetics (or any other FDA-regulated
 7              product) must be approved by FDA. There must be a regulation specifically
                addressing a substance's use as a color additive, specifications, and restrictions.
 8           b. Identity and specifications. All color additives must meet the requirements for
 9              identity and specifications stated in the Code of Federal Regulations (CFR).
             c. Use and restrictions. Color additives may be used only for the intended uses stated
10              in the regulations that pertain to them. The regulations also specify other restrictions
                for certain colors, such as the maximum permissible concentration in the finished
11              product.”13
12           46.     “Except in the case of coal-tar hair dyes, failure to meet U.S. color additives
13   requirements causes a cosmetic to be adulterated.”14
14           47.     Pursuant to 21 CFR 70.5(a), Defendants may not use a color additive in products
15   unless the regulation for that additive specifically permits such use. A particular color additive
16   may be safe for one purpose, such as use in lipstick, but unsafe for use around the eye area.
17           48.     The FDA defines “area of the eye” as “the area enclosed within circumference of
18   the supra-orbital ridge and the infra-orbital ridge, including the eyebrow, the skin below the
19   eyebrow, the eyelids and the eyelashes, and conjunctival sac of the eye, the eyeball, and the soft
20   areolar tissue that lies within the perimeter of the infra-orbital ridge.”15
21           49.     The FDA does not permit the following color additives to be used around the eye
22   area (defined herein as “Harmful Ingredients”):16
23             •    FD&C Red No. 4; D&C Red No. 6, 7, 17, 21, 22, 27, 28, 30, 31, 33, 34, 36

24   11 California State law incorporates the FDA’s color additive regulations.
     12 [FD&C Act, Sec. 721; 21 U.S.C. 379e; 21 CFR Parts 70 and 80]
25   13     https://www.fda.gov/industry/color-additives-specific-products/color-additives-and-cosmetics-fact-
26       sheet (last accessed Mar. 21. 2022); Federal Food, Drug, and Cosmetic Act (“FD&C Act”), § 721: 21
         U.S.C. 379e.
27   14 FD&C Act, § 601(e); 21 U.S.C. 361(e)
     15 21 CFR § 70.3(s)
28   16 21 CFR 74.2254, 74.2260, 74.2261, 74.2321, 74.2322, 74.2327, and 74.2328.

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              •      D&C Violet No. 2, Ext. D&C Violet No. 2
 1            •      FD&C Yellow No. 6; D&C Yellow No. 7, 8, 10, 11; Ext. D&C Yellow No. 7
 2            •      D&C Orange No. 4, 5, 10, 11
              •      D&C Green No. 6, 8; FD&C Green No. 3
 3            •      D&C Brown No. 1
              •      D&C Blue No. 4
 4
            50.      Despite these regulations and the inherent dangers which prompted the passing of
 5
     these regulations, Morphe Eye Makeup is formulated with and contains Harmful Ingredients that
 6
     are not approved by the FDA for use in the eye area because these ingredients are dangerous for
 7
     that purpose.
 8
            51.      Accordingly, in addition to misleading Plaintiffs and Class Member about the
 9
     safety of the Products, Defendants have engaged in acts that are prohibited under federal law.
10
                             THE PRODUCTS’ PACKAGING IS MISLEADING
11
            52.      Morphe Eye Makeup is misbranded because: (1) Defendants represent that the
12
     Products are safe for use in the eye area, (2) the Products’ labels and packaging are false and/or
13
     misleading; and (3) Defendants omit material facts about the Products.17
14
            53.      At the time of purchase, and as a result of Defendants’ representations or omissions,
15
     Plaintiffs and Class Members were under the reasonable belief that Morphe Eye Makeup was safe
16
     for its intended use, cosmetic application to the eye area.
17
            54.      The Products’ packaging and labels are misleading because Defendants omitted
18
     material facts about the safety of the Products.
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27
     17 http://uscode.house.gov/view.xhtml?req=granuleid:USC-prelim-title21-
28
         section362&num=0&edition=prelim (Section 362. Misbranded Cosmetics).
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 1          55.     For example, the Morphe X Nyane Fierce Fairytale Palette (“Fairytale Palette”)

 2   contains 30 distinct Color Pans, but 21 Color Pans are formulated with and/or contain Harmful

 3   Ingredients that are not safe for use in the eye area. (See Figure 4)

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17
                                    Figure 4 . Fairytale Palette
18      For ease of reference, Plaintiffs used black checkmarks to identify the 9 shades that
      comply with FDA regulations. The remaining 21 shades contain Harmful Ingredients that
19                     are prohibited for use in the eye area and eye makeup.
20
21
            56.     The Fairytale Palette’s webpage, online product description, and online
22
     ingredients list does not mention or otherwise warn consumers that the Fairytale Palette is
23
     formulated with and/or contains Harmful Ingredients that are not FDA approved for application
24
     in the eye area.
25
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 1          57.     In fact, the Fairytale Palette’s packaging contains three images that depict a model

 2   wearing several shades of neon eyeshadow—pink, green, and orange—even though each of those

 3   Color Pans contains Harmful Ingredients. (See Figures 5).

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19                 Figure 5. Fairytale Palette – Product’s Packaging & Interior Panel
          Three separate images on the product’s package depict a model wearing several eyeshadow shades that
20                                            contain Harmful Ingredients.

21
22      DEFENDANTS MARKET AND PROMOTE THE PRODUCTS AS EYE MAKEUP

23          58.     Defendants market, advertise, and sell Morphe Eye Makeup in a uniform manner

24   throughout the United States, including in the State of California, and represent that the Products

25   are both safe and suitable for their intended use—application to the eye area.

26          59.     Defendants have produced and disseminated advertisements, promotional images,

27   marketing campaigns, instructional videos, social media posts, tutorials, and other public

28   statements that unambiguously encourage consumers to use the Products in the eye area.

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 1   Defendants’ Instructions and Product Tutorials

 2          60.     Figure 6 depicts a tutorial in which Defendants encourage consumers to apply

 3   several Color Pans that contain Harmful Ingredients—“Fired Up,” “Red Carpet”, “Color

 4   Persona”, “Bright Eyes”, and “Grape Expectations”—into the eye “crease,” “over entire lid,” “on

 5   the inner tear duct,” and “the lower lid.” Defendants also instruct consumers to “apply Color

 6   Pencil ‘Mina’ on the waterline [of the eye]” which contains several Harmful Ingredients.18

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         Figure 6. Screenshot taken from the “Tips & Tricks” portion of Defendants’ Website.
19      Defendants provide a detailed eye makeup tutorial on the 35M Boss Mood Palette’s product
        webpage which instructs and encourages users to apply specific shades that contain Harmful
20             Ingredients to the eye area. The corresponding image depicts the end result.
21
22
     Promotional Images
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            61.     As demonstrated throughout this Complaint, the Products’ promotional images
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     clearly depict models wearing specific shades and colors in the eye area even if they are
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     formulated with and/or contain Harmful Ingredients that are not approved by the FDA for use in
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     eye makeup.
27
28   18 https://www.morphe.com/products/color-pencil-mina (last accessed Mar. 23. 2022).

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 1   Social Media Posts and Influencers

 2          62.    Social media platforms are an integral part of Defendants’ marketing strategy, and

 3   Defendants promote the Products on various YouTube channels, Instagram accounts, and other

 4   outlets. Defendants advertise and post tutorials on Instagram through the verified account

 5   @Morphebrushes, which currently has 10.5 million followers. Defendants’ Instagram posts

 6   describe which Morphe Eye Makeup products were used in the image and provide viewers with

 7   a shopping link where they can purchase the corresponding products. (See Figure 7).

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                               Figure 7. Defendants’ Instagram Posts
23          Promotional images of the 35T Sweetest Tea Palette and 9Y Heart Candy Palette
24                        and corresponding shopping links for each product.

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            63.    Defendants also advertise and post tutorials through the verified account
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     @morphe2 which currently has 125,000 followers.
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 1           64.     Morphe Agents and collaborators, such as James Charles, promote Morphe Eye

 2   Makeup in YouTube video tutorials and through their social media accounts.

 3           65.     Similarly, Defendants’ website features images of makeup artists and Instagram

 4   bloggers using the Products as eyeshadow even if a particular shade contains Harmful Ingredients.

 5   These social media posts often contain product links and hashtags that direct consumers to the

 6   corresponding Product on Morphe’s website and describe the specific shades that were used as

 7   eyeshadow.

 8           66.     Plaintiffs and Class Members relied on Defendants’ representations when they

 9   purchased Morphe Eye Makeup, including but not limited to Defendants’ website, instructions,

10   product tutorials, promotional images, social media posts, and statements made by its agents.

11                        RISK TO CONSUMERS AND FAILURE TO WARN

12           67.     The Harmful Ingredients can cause physical injuries including eye pain, redness,

13   itching, skin irritation, rashes, and skin staining.

14           68.     Defendants do not warn the Products’ potential purchasers or users that Morphe

15   Eye Makeup is not safe for its intended use or that the Products contain Harmful Ingredients.

16           69.     Similarly, Defendants failed to warn or otherwise alert the Products’ potential

17   purchasers or users of the known dangers and risks associated with the Harmful Ingredients and

18   the potential consequences of using the Products’ as intended.

19   Purported Disclaimer Language on Defendants’ Website

20           70.     Defendants’ advertising, marketing, packaging, and all other forms of

21   communication, including Defendants’ website, each fail to provide any warning whatsoever

22   regarding the known dangers associated with the intended use of the Products.

23           71.     For a portion of the Morphe Eye Makeup products, Defendants’ website includes

24   vague language and inconsistent statements such as “*Caution: Pressed pigments not intended for

25   use in eye area.”

26           72.     As a matter of law, this is not a safety warning because it does not: (1) assist the

27   consumer in understanding the danger; and (2) it is not conveyed in a manner that a reasonable

28   person would see, receive, and understand.

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 1          73.    The substance and placement of Defendants’ purported disclaimer falls far short

 2   of being a prominent and conspicuous warning detailing the potential risks and consequences that

 3   could result from applying Morphe Eye Makeup in the eye area.

 4          74.    As demonstrated in Figure 8 below, Defendants’ statement appears in small,

 5   unbolded font buried within 30 lines of text. Defendants’ purported disclaimer is ten words

 6   starting on the fifteenth row down, surrounded by 876 other words.

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          Figure 8 – Excerpt from the 35T Sweetest Tea eyeshadow palettes’ ingredients page.
27        https://www.morphe.com/collections/sweetest-tea-product/products/35t-sweetest-tea-
28                            artistry-palette (last accessed Mar. 23, 2022).

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 1           75.      Defendants’ purported disclaimer does nothing to assist the consumer in

 2   understanding the known risks of using Morphe Eye Makeup, nor does it suggest that any known

 3   dangers exist.

 4           76.      Defendants’ purported disclaimers are also unlikely to reach consumers at all

 5   because they are located in the least prominent location of Morphe’s website rather than in a

 6   conspicuous location such as the individual Products’ landing pages and/or description pages.

 7           77.      For example, Morphe X Sour Patch Kids Sour Then Sweet Palette (“Sour Patch

 8   Palette”) does not contain a prominent warning or any disclaimer language on the product’s main

 9   webpage. Consumers would have to exit the product’s landing page and navigate to its online

10   ingredients list to find the hidden words: *Caution: Pressed pigments are not intended for use in

11   the eye area.”19

12           78.      Consumers can navigate through the entire purchasing process online at

13   Morphe.com without ever encountering Defendants’ hidden disclaimer.

14           79.      Even if Defendants did use adequate warning language, which they do not, the

15   Products’ promotional images and Defendants’ marketing materials undermine any such

16   statements because models are repeatedly shown wearing specific eyeshadow colors that contain

17   Harmful Ingredients.

18           80.      Furthermore, Defendants’ language and use of disclaimers is inconsistent. Several

19   Morphe Eye Makeup products have no disclaimer whatsoever even though they are formulated

20   with Harmful Ingredients. For example, the Fairytale Palette’s product webpage does not include

21   any warning language, purported disclaimers, or online statements that suggest or otherwise

22   indicate that the product contains Harmful Ingredients (nor does its physical packaging).

23   Purported Disclaimers on the Products’ Packaging

24           81.        The Products’ physical packaging fails to provide any warning regarding the

25   known dangers associated with the intended use of the Products.

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     19    https://www.morphe.com/collections/morphe-x-sour-patch-kids/products/morphe-x-sour-patch-kids-
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          sour-then-sweet-artistry-palette (last accessed Feb. 17, 2022).
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 1          82.     Some of the Products’ physical packaging includes the attempted disclaimer

 2   language or statements that otherwise appear on Defendants’ website.

 3          83.     For example, the Sour Patch Palette discussed above which has the attempted

 4   disclaimer language hidden during the entire online purchasing process, does not include any

 5   warning or attempted disclaimer language on its physical packaging.

 6          84.     Instead, Morphe categorizes the Sour Patch Palette’s individual shades as either

 7   “eyeshadow” or “pressed pigment” and prints two distinct lists on the back panel of the product’s

 8   packaging without providing further explanation. (See Figure 9).

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                             Figure 9. Sour Patch Kids Eyeshadow Palette.
16                             Image of Product’s Back Panel and Ingredients List.

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            85.     The tiny symbol of an eye with a line though it fails in every aspect to warn
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     consumers of the known hazards associated with using the Products for their intended use.
19
            86.     The substance and placement of this version of Defendants’ attempted disclaimer
20
     falls far short of being a prominent and conspicuous warning detailing the potential risks and
21
     consequences that could result from using Morphe Eye Makeup for its intended use.
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     Pressed Pigments are Eyeshadows
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            87.     Defendants attempt to categorize certain Color Pans as “Pressed Pigments” is
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     unfair, misleading, and deceptive based on the entirety of Defendants’ marketing, advertising,
25
     and all other consumer-facing communications which, without exception, encourage and instruct
26
     consumers to use all Color Pans – both those categorized as pressed pigments and those
27
     categorized as eyeshadow in precisely the way: for cosmetic application around the eye area.
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 1          88.     Figure 10 depicts specific shades from the Sour Patch Palette, “Lime Burst” and

 2   “Lemon Squeeze,” being used as eyeshadow even though Defendants categorizes both colors as

 3   “pressed pigments” that are “not intended for use in the eye area” on Defendants’ website.

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14                Figure 10. South Patch Kids Eyeshadow Palette Promotional Image
         Model shown wearing “Lemon Squeeze” (bright yellow shade) and “Lime Burst” (neon green shade) on
15                                eyelid, eye crease, and surrounding eye area.

16          89.     Figure 11 also depicts “Lime Burst,” “Watermelon Whoa,” and “Pink
17   Strawberry,” (or a combination thereof) being used as eyeshadow even though Defendants
18   designate all three shades as “pressed pigments” rather than eyeshadows.
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28                  Figure 11. South Patch Kids Eyeshadow Palette Promotional Image

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 1          90.     Morphe describes itself as a company that likes to “Blend the Rules,” and that’s

 2   exactly what it has done.

 3          91.     Defendants’ webpage explains, “[a]t Morphe, there are no rules. . . Dare to create.

 4   Push those boundaries. Make an impact. Show the world your true, vivid, exploding colors. You

 5   do you. And no one else. Blend the rules, Morphe Babe.”20

 6          92.     In keeping with this message, Defendants’ have ignored federal regulations and

 7   have used deceptive and misleading language, such as “artistry palette” or “pressed pigments,” in

 8   a dangerous attempt to avoid responsibility for endangering the safety of consumers by marketing

 9   the Products as eyeshadow despite the fact that the Products are not safe for cosmetic application

10   around the eye area.

11          93.     Pressed pigments are indistinguishable from eyeshadow. The only reasonable and

12   foreseeable use for Defendants’ pressed pigments is as eyeshadow to be used for cosmetic

13   application around the eye area.

14          94.     Similarly, artistry palettes are indistinguishable from eyeshadow palettes. The only

15   reasonable and foreseeable use for Defendants’ artistry palettes is as eyeshadow to be used for

16   cosmetic application around the eye area.

17          95.     Defendants have engaged in unfair, unlawful, and fraudulent conduct because

18   categorizing the Products as pressed pigments or artistry palettes, and using disclaimer language

19   for particular Color Pans, subjects consumers to unreasonable risk of injury.

20          96.     Defendants’ use of these euphemisms allows Defendants to sell the Products

21   alongside its other eyeshadows even though the Products contain Harmful Ingredients and are

22   unlawful to sell for cosmetic use in the eye area.

23          97.     Prior to Plaintiffs’ purchases, Defendants knew or should have known the Products

24   were unreasonably dangerous. First and foremost, as discussed herein, the FDA regulations

25   prohibiting the Harmful Ingredients in cosmetics intended for use on the eye put Defendants on

26   notice that such use could cause injury. Defendants’ use of the euphemism “pressed pigments”

27   and “artistry palettes” and its hidden disclaimers evidence Defendants’ knowledge of the dangers

28   20 www.morphe.com/pages/about-morphe

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 1   prompting the FDA’s prohibitions on the use of the Harmful Ingredients for the Products’

 2   intended purpose.   However, instead of protecting consumers from these known dangers,

 3   Defendants chose to heed its own slogan and “blend the rules” by encouraging consumers to use

 4   the Products for cosmetic application on the eye area while fabricating meaningless euphemisms

 5   and hidden disclaimers which fail to inform consumers of the Products known dangers.

 6          98.    In addition to the FDA regulations which put Defendants on notice of the Products

 7   known dangers, consumers have put Defendants on notice of these dangers directly. Defendants’

 8   own website includes just a small sample of the complaints received. For example:

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 1          99.     Defendants knew or should have known that reasonable consumers would believe

 2   Morphe Eye Makeup is safe for use in the eye area because Defendants actively and openly

 3   instructed and encouraged consumers to use the Products as eyeshadow.

 4          100.    Defendants engaged in this deliberate and willful pattern of conduct aimed at

 5   deceiving consumers, all while having full knowledge that the Products are defective,

 6   unreasonably dangerous, and unlawfully sold.

 7          101.    Every consumer who purchased Morphe Eye Makeup was injured at the point of

 8   sale when, instead of obtaining a reasonably safe product, he/she obtained Defendants’

 9   unreasonably dangerous and defective product.

10          102.    Through its marketing, advertising, sales, and distribution efforts, Defendants

11   made actionable statements that Morphe Eye Makeup was free of defects and safe and fit for its

12   ordinary intended use and purpose.

13          103.    By marketing, advertising, selling, and distributing Morphe Eye Makeup to

14   consumers throughout the United States, Defendants made actionable statements that the Products

15   would not include prohibited ingredients that cause undisclosed safety risks. Further, Defendants

16   concealed what they knew or should have known about the safety risks resulting from the

17   Products inherent defect.

18          104.    Defendants engaged in the above-described actionable statements, omissions, and

19   concealments with knowledge that the representations were false and/or misleading, and likely

20   to mislead reasonable consumers.

21          105.    Alternatively, Defendants were reckless in not knowing that these statements,

22   omissions, and concealments were false and misleading at the time they were made.

23          106.    Defendants had and continue to have exclusive access to data pertaining to the

24   product Defect that Plaintiffs and putative Class Members could not and did not have.

25          107.    Therefore, Plaintiffs, on behalf of themselves and similarly situated consumers,

26   hereby bring this action for violations of various state and federal laws.

27          108.    On March 18, 2022, pursuant to the California Legal Remedies Act (Civil Code

28   §§ 1750, et seq.), Plaintiffs put Defendants on written notice of the violations alleged herein.

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 1           109.    Plaintiffs informed Defendants that Morphe Eye Makeup cannot be legally sold in

 2   the United States. Plaintiffs further informed Defendants of the significant risk of physical injury

 3   to consumers resulting from Morphe Eye Makeup’s intended use.

 4
 5                                   PLAINTIFFS’ EXPERIENCES

 6   Plaintiff Crystal Damato on behalf of herself and her minor child

 7           110.    Plaintiff Crystal Damato brings claims on behalf of herself and her minor child

 8   who purchased and used Morphe Eye Makeup products for personal cosmetic use, including the

 9   Morphe 35D, Morphe 35M, and James Charles eyeshadow palettes.

10           111.    Plaintiffs Damato resides in Rodeo, California and purchased the Products on

11   multiple occasions between 2018 and 2021 for her personal use and for use by her minor child.

12   The Products were purchased at a nearby Ulta Beauty store and online through www.morphe.com.

13           112.    Plaintiff Damato and her minor child were exposed to and relied on Defendants’

14   representations in the form of advertisements, promotional images, marketing materials, social

15   media posts, and other official statements, and Defendants’ representations led them to believe

16   that Morphe Eye Makeup was safe for its intended use: cosmetic application to the eye area.

17           113.    At the time of purchase, Plaintiff Damato and her minor child were not aware of

18   any warnings, safety issues, or instructions for use indicating that Morphe Eye Makeup is not safe

19   or fit for use in the eye.

20           114.    Similarly, Plaintiff Damato and her minor child were not aware of any warnings

21   or disclosures that the Products they purchased contained harmful color additives that are not safe

22   for application to the eye.

23           115.    However, at the time of purchase, the Morphe 35D, Morphe 35M, and James

24   Charles eyeshadow palettes each contained harmful color additives that are not safe for use in the

25   eye area.

26           116.    Defendants’ representations and statements regarding the Products are false and

27   misleading because: (1) the Products are designed, formulated, and/or manufactured with

28   Harmful Ingredients which render them unsafe and unfit for their intended use and purpose

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 1   (cosmetic application to the eye area); (2) Morphe Eye Makeup is designed, formulated, and

 2   manufactured with substandard materials and/or construction which results in adulterated and/or

 3   misbranded Products that are unlawful to sell; and (3) Defendants’ deceptively omitted and

 4   concealed these and other material facts from Plaintiff Damato..

 5          117.    Plaintiff Damato’s minor child used the Products in a reasonably foreseeable

 6   manner when she applied them to her eye area. As a result of using the Products as intended,

 7   Plaintiff Damato’s minor child suffered from severe eye irritation that required medical

 8   intervention. At the time of this incident, the minor was of a suitable age to use Morphe Eye

 9   Makeup.

10          118.    As a result of Defendants’ deceptive misrepresentations and fraudulent business

11   practices, Plaintiffs and Class Members suffered injury and loss of money, including but not

12   limited to: (1) Plaintiff Damato and her minor child did not receive any of the advertised benefits

13   as described above; (2) Plaintiff Damato and her minor child paid for Morphe Eye Makeup

14   products that are unsafe by virtue of their design, formulation, construction, or workmanship; and

15   (3) Plaintiff Damato and her minor child paid more for Morphe Eye Makeup products than they

16   are worth because the Products, by virtue of being formulated with and/or containing Harmful

17   Ingredients, are misbranded, mislabeled, adulterated, and worthless.

18          119.    If Plaintiff Damato and her minor child had known that the Products are unfit for

19   their intended use and defective, and that the representations made by Defendants were false and

20   misleading, she would not have purchased the Products or would have paid substantially less than

21   she did. Therefore, Plaintiff Damato did not receive the benefit of her bargain

22   Plaintiff Amanda Montgomery

23          120.     Plaintiff Amanda Montgomery resides in San Diego, California and started using

24   Morphe Eye Makeup in 2017.

25          121.     Plaintiff Montgomery purchased several of the Products for personal cosmetic

26   use online from www.morphe.com, and Plaintiff Montgomery’s most recent purchase occurred

27   in 2020.

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 1          122.        Plaintiff Montgomery was exposed to and observed Defendants’ representations

 2   in the form of advertisements, promotional images, marketing materials, social media posts, and

 3   other official statements, which caused her to believe that Morphe Eye Makeup was safe for its

 4   intended use.

 5          123.        Plaintiff Montgomery relied on Defendants’ representations when she decided to

 6   purchase and use various Morphe Eye Makeup products, including the 3502, 35R, and Jaclyn Hill

 7   eyeshadow palettes.

 8          124.        At the time of purchase, Plaintiff Montgomery was not aware of any warnings,

 9   safety issues, or instructions for use indicating that Morphe Eye Makeup is not safe or fit for use

10   in the eye area.

11          125.        Similarly, Plaintiff Montgomery was not aware of any warnings or disclosures

12   that the 3502, 35R, and Jaclyn Hill eyeshadow palettes contain color additives that are not safe or

13   approved by the FDA for application to the eye area. However, at the time of purchase, each

14   product Plaintiff Montgomery selected contained Harmful Ingredients.

15          126.        All of Defendants’ representations and statements are false and misleading

16   because: (1) the Products are designed, formulated, and/or manufactured with Harmful

17   Ingredients which render them unsafe and unfit for their intended use and purpose (cosmetic

18   application to the eye area); (2) Morphe Eye Makeup is designed, formulated, and manufactured

19   with substandard materials and/or construction which results in adulterated and/or misbranded

20   Products that are unlawful to sell; and (3) Defendants’ deceptively omitted and concealed these

21   and other material facts from Plaintiff Montgomery and other reasonable consumers.

22          127.     Plaintiff Montgomery used Morphe Eyeshadow in eye area and suffered skin

23   staining as a result of using Defendants’ Products in their intended and reasonably foreseeable

24   manner. Plaintiff Montgomery repeatedly scrubbed her eyelids and eye area with makeup

25   remover, but it did not remove the stains or discoloration the Products caused. When Plaintiff

26   Montgomery woke up the following morning, her eyelids and general eye area were still stained

27   and inflamed as a result of using Morphe Eye Makeup. Defendants knew or should have known

28   that the Products’ Defect could cause staining and discoloration.

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 1          128.      As a result of Defendants’ deceptive misrepresentations and fraudulent business

 2   practices, Plaintiff Montgomery suffered injury and loss of money, including but not limited to:

 3   (1) Plaintiff Montgomery did not receive any of the advertised benefits as described above; (2)

 4   Plaintiff Montgomery paid for Morphe Eye Makeup products that are unsafe by virtue of their

 5   design, formulation, construction, or workmanship; and (3) Plaintiff Montgomery paid more for

 6   Morphe Eye Makeup products than they are worth because the Products, by virtue of being

 7   formulated with and/or containing Harmful Ingredients, are misbranded, mislabeled, adulterated,

 8   and worthless.

 9          129.      If Plaintiff Montgomery had known that the Products are unfit for their intended

10   use and defective, and that the representations made by Defendants were false and misleading,

11   she would not have purchased the Products or would have paid substantially less than she did.

12   Therefore, Plaintiff Montgomery did not receive the benefit of her bargain.

13          Plaintiff Taylor Maxwell

14          130.      Plaintiff Taylor Maxwell resides in Wahiawa, Hawaii and purchased Morphe Eye

15   Makeup products for personal cosmetic use at an Ulta Beauty store located in Clarksville,

16   Tennessee on several occasions between 2018 and 2020.

17          131.      Plaintiff Maxwell was exposed to and reasonably relied on Defendants’

18   representations about Morphe Eye Makeup when she selected the Morphe 35O, Morphe 35M,

19   Morphe 35W, Morphe 9C, and Jaclyn Hill eyeshadow palettes for purchase.

20          132.      At the time of purchase, Plaintiff Maxwell was not aware of any warnings, safety

21   issues, or instructions for use indicating that Morphe Eye Makeup is not safe or fit for use in the

22   eye area.

23          133.      Similarly, Plaintiff Maxwell was not aware of any warnings or disclosures that the

24   Morphe 35O, Morphe 35M, Morphe 35 W, Morphe 9C, and Jaclyn Hill eyeshadow palettes

25   contain harmful color additives that are not safe for application to the eye area.

26          134.      However, at the time of purchase, each product Plaintiff Maxwell selected

27   contained Harmful Ingredients.

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 1          135.    All of Defendants’ representations and statements are false and misleading

 2   because: (1) the Products are designed, formulated, and/or manufactured with Harmful

 3   Ingredients which render them unsafe and unfit for their intended use and purpose (cosmetic

 4   application to the eye area); (2) Morphe Eye Makeup is designed, formulated, and manufactured

 5   with substandard materials and/or construction which results in adulterated and/or misbranded

 6   Products that are unlawful to sell; and (3) Defendants’ deceptively omitted and concealed these

 7   and other material facts from Plaintiff Maxwell and other Class Members.

 8          136.    Plaintiff Maxwell used Morphe Eye Makeup as eye shadow because she did not

 9   know that it contained harmful ingredients that are not safe or FDA approved for use in the eye

10   area. Plaintiff Maxwell suffered from skin staining as a result of using the Products in the eye

11   area. Several individual shades contained in the Morphe 35O, Morphe 35M, Morphe 35W,

12   Morphe 9C, and Jaclyn Hill eyeshadow palettes caused Plaintiff Maxwell’s skin staining, but the

13   purple, red, and pink shades caused the most prominent staining, lasting up to 24 hours after use.

14          137.    As a result of Defendants’ deceptive misrepresentations and fraudulent business

15   practices, Plaintiff Maxwell suffered injury and loss of money, including but not limited to: (1)

16   Plaintiff Maxwell did not receive any of the advertised benefits as described above; (2) Plaintiff

17   Maxwell paid for Morphe Eye Makeup products that are unsafe by virtue of their design,

18   formulation, construction, or workmanship; and (3) Plaintiff Maxwell paid more for Morphe Eye

19   Makeup products than they are worth because the Products, by virtue of being formulated with

20   and/or containing Harmful Ingredients, are misbranded, mislabeled, adulterated, and worthless.

21          138.    If Plaintiff Maxwell had known that the Products are unfit for their intended use

22   and defective, and that the representations made by Defendants were false and misleading, she

23   would not have purchased the Products or would have paid substantially less than she did.

24   Therefore, Plaintiff Maxwell did not receive the benefit of her bargain.

25                    TOLLING AND ESTOPPEL OF STATUTE OF LIMITATIONS

26          139.    Defendants are, and at all relevant times have been, under a continuous duty to

27   disclose to Plaintiffs and other Class Members the true character, quality, and nature of the defect

28   plaguing Morphe Eye Makeup.

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 1           140.    Defendants actively concealed the true character, quality, and nature of the

 2   Products and knowingly made misrepresentations about Morphe Eye Makeup’s safety, quality,

 3   characteristics, and performance.

 4           141.    Defendants had actual knowledge that the Products contain dangerous defects—

 5   by virtue of being formulated and manufactured with Harmful Ingredients—but did not alert

 6   Plaintiffs or Class Member to the defect or dangers associated with the Products’ intended use

 7   (application to the eye area).

 8           142.    Defendants’ advertisements, marketing materials, tutorials, social media posts,

 9   and other representations suppress the fact Morphe Eye Makeup is manufactured with and/or

10   contains Harmful Ingredients that are not safe or FDA approve for use in the eye area.

11           143.    Similarly, Defendants’ business practices, including the use of misleading phrases

12   like “pressed pigment” and “artistry palette,” obscure and conceal the fact that Morphe Eye

13   Makeup cannot lawfully be sold for its intended and stated purpose.

14           144.    Plaintiffs    and       Class   Members   reasonably   relied   upon    Defendants’

15   misrepresentations and/or active concealment of these facts and suffered injuries as a proximate

16   result of their justifiable reliance.

17           145.    Accordingly, Plaintiffs and Class Members’ lack of awareness was not attributable

18   to a lack of diligence on their part.

19           146.    As a result of Defendants’ active concealment of the Defect and/or failure to

20   inform Plaintiffs and Class Members of the Defect, any and all applicable statutes of limitations

21   otherwise applicable to the allegations herein have been tolled. Furthermore, Defendants are

22   estopped from relying on any statutes of limitations in light of its active concealment of the

23   defective nature of Morphe Eye Makeup.

24           147.    Further, the causes of action alleged herein did not occur until Plaintiffs and Class

25   Members discovered that Morphe Eye Makeup is defective, misbranded, and unfit for its intended

26   purpose.

27
28
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 1                                    FED. R. CIV. P. 9(b) ALLEGATIONS

 2                                        (Affirmative and By Omission)

 3          148.     Although Defendants are in the best position to know what content was placed on

 4   Defendants’ websites, social media account, and other marketing materials during the relevant

 5   timeframe, to the extent necessary, Plaintiffs satisfy the requirements of Rule 9(b) by alleging the

 6   following facts with sufficient particularity:

 7          149.     WHO: Defendants and their agents made material misrepresentations and/or

 8   omissions of fact in their manufacture, distribution, labeling, and marketing of Morphe Eye

 9   Makeup products, which includes statements indicating that Morphe Eye Makeup is not defective,

10   is of high-quality, and is suitable for its intended purpose—application to the eye area.

11          150.     WHAT: Defendants conduct here was, and continues to be, fraudulent because

12   Defendants omitted and concealed that Morphe Eye Makeup is defective, formulated and

13   manufactured with color additives that are prohibited for its intended use, and could present a

14   health and safety hazard when used as intended. Defendants’ employees and authorized agents

15   and representatives made affirmative misrepresentations to Plaintiffs and Class Members

16   regarding the same qualities. Further, Defendants’ conduct deceived Plaintiffs and Class

17   Members into believing that Morphe Eye Makeup is not defective, is high-quality, and is safe to

18   use as intended. Defendants knew or should have known this information is material to reasonable

19   consumers, including Plaintiffs and Class Members in making their purchasing decisions, yet

20   Defendants omitted warnings and statements indicating that the Products suffer from the Defect.

21          151.     WHEN: Defendants made material misrepresentations and/or omissions detailed

22   herein continuously throughout the applicable class periods.

23          152.     WHERE: Defendants’ material misrepresentations and/or omissions were made:

24   (1) on the Products labels and packaging (all of which are sold nationwide), (2) on Defendants’

25   website(s) and social media accounts; (3) through the Products respective marketing materials,

26   promotional images, and advertising campaigns, and (4) through statements made by Defendants’

27   employees, agents, and collaborators.

28
                                         CLASS ACTION COMPLAINT
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 1             153.    HOW: Defendants made misrepresentations and/or failed to disclose material

 2   facts regarding the true safety risks of the Products in written form, electronic form, or

 3   conventional hardcopy form, as well as verbally through statements made by its employees.

 4             154.    WHY: Defendants made the material misrepresentations and/or omissions

 5   detailed herein for the express purpose of inducing Plaintiffs, Class Members, and all reasonable

 6   consumers to purchase Morphe Eye Makeup for its intended purpsoe, the effect of which was that

 7   Defendants profited by selling Morphe Eye Makeup to thousands of consumers.

 8             155.    INJURY: Plaintiffs and Class Members purchased or paid more for Morphe Eye

 9   Makeup than they otherwise would have absent Defendants’ misrepresentations and/or omissions.

10   Further, Morphe Eye Makeup continues to pose unreasonable safety risks and causes consumers

11   to incur unnecessary and unreasonable out-of-pocket expenses when manifestation of the Defect

12   occurs.

13                                       CLASS ACTION ALLEGATIONS

14             156.   Plaintiffs bring this action individually and as representatives of all those similarly

15   situated, pursuant to Fed. R. Civ. P. 23, on behalf of the below-defined Classes:

16
                 Nationwide Class:
17               All persons residing in the United States who purchased Morphe Eye Makeup during
                 the maximum period permitted by law.
18
19               California Class:
                 All persons residing in the State of California who purchased Morphe Eye Makeup
20               during the maximum period permitted by law.
21               Tennessee Class:
                 All persons residing in the State of Tennessee who purchased Morphe Eye Makeup
22
                 during the maximum period permitted by law.
23
24             157.   Specifically excluded from these definitions are: (1) Defendants, any entity in

25   which Defendants has a controlling interest, and its legal representatives, officers, directors,

26   employees, assigns and successors; (2) the Judge to whom this case is assigned and any member

27   of the Judge’s staff or immediate family; and (3) Class Counsel.

28
                                           CLASS ACTION COMPLAINT
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 1          158.    Plaintiffs seek only damages and equitable relief on behalf of themselves and the

 2   putative Classes.

 3          159.    Numerosity: The Members of the Classes are so numerous that joinder of all

 4   Members is impracticable. While the exact number of putative Class Members is presently

 5   unknown, it likely consists of tens of thousands of people geographically disbursed throughout

 6   the United States. The number of putative Class Members can be determined by sales information

 7   and other records in Defendants’ possession. Moreover, joinder of all putative Class Members is

 8   not practicable given their numbers and geographic diversity. The Classes are readily identifiable

 9   from information and records in the possession of Defendants and their authorized retailers.

10          160.    Typicality: The claims of the representative Plaintiffs are typical in that Plaintiffs,

11   like all putative Class Members, purchased Morphe Eye Makeup that was designed, formulated,

12   manufactured, marketed, advertised, distributed, and sold by Defendants. Plaintiffs, like all

13   putative Class Members, have been damaged by Defendants’ misconduct in that, inter alia,

14   Plaintiffs incurred or will continue to incur damages as a result of overpaying for defective

15   Morphe Eye Makeup which makes the Products inherently dangerous and not fit for its intended

16   use. Furthermore, the factual basis of Defendants’ misconduct is common to all putative Class

17   Members because Defendants have engaged, and continue to engage, in systematic fraudulent

18   behavior that was and is deliberate, includes negligent misconduct, and results in the same injury

19   to all putative Class Members.

20          161.    Commonality: Common questions of law and fact exist as to all putative Class

21   Members. These questions predominate over questions that may affect only individual Class

22   Members because Defendants have acted on grounds generally applicable to the Classes. Such

23   common legal or factual questions include, inter alia:

24            (a) Whether Morphe Eye Makeup is defective;
25            (b) Whether Morphe Eye Makeup is defectively designed and/or manufactured;
26            (c) Whether Morphe Eyes Makeup is dangerous;
27            (d) Whether Defendants knew or reasonably should have known about the Defect
28                  prior to distributing and selling Morphe Eye Makeup to Plaintiffs and the putative

                                         CLASS ACTION COMPLAINT
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 1           Classes;

 2      (e) Whether Defendants knew or reasonably should have known Morphe Eye Makeup
 3           was dangerous when Defendants packaged, marketed, advertised, specified,

 4           instructed, encouraged, and otherwise represented that Morphe Eye Makeup was

 5           intended for use in the eye area;

 6      (f) Whether Defendants concealed from, omitted, and/or failed to disclose to
 7           Plaintiffs and the putative Classes the dangers associated with Morphe Eye

 8           Makeup as a result of the Products’ Harmful Ingredients;

 9      (g) Whether Defendants breached the implied warranty of merchantability and the
10           Song-Beverly Consumer Warranty Act, relating to Morphe Eye Makeup;

11      (h) Whether Defendants engaged in unfair, unconscionable, or deceptive trade
12           practices by selling and/or marketing defective and/or misbranded Morphe Eye

13           Makeup;

14      (i) Whether Defendants violated Cal. Bus. & Prof. Code § 17500, et seq. (FAL);
15      (j) Whether Defendants violated Civil Code §§ 1750, et seq. (CLRA);
16      (k) Whether Defendants violated Cal. Bus. & Prof. Code §§ 17200, et seq. (UCL);
17      (l) Whether Defendants violated N.Y. GBL §§ 349, et seq.
18      (m) Whether Defendants violated N.Y. GBL §§ 350, et seq.
19      (n) Whether Defendants were negligent in their failure to adequately test;
20      (o) Whether Defendants were negligent in their failure to warn;
21      (p) Whether Defendants are strictly liable for their defective design and/or
22           manufacture of Morphe Eye Makeup;

23      (q) Whether Plaintiffs and the putative Classes are entitled to damages, including
24           compensatory, exemplary, and statutory damages, and the amount of any such

25           damages;

26      (r) Whether Defendants should be enjoined from selling and marketing their defective
27           Morphe Eye Makeup;

28      (s) Whether Defendants should be enjoined from selling, promoting, and advertising

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 1                  that Morphe Eye Makeup—including the neon shades it is known for—are safe

 2                  and fit for use in the eye area when, in fact, the Products contain color additives

 3                  that are prohibited for use in the eye area; and

 4            (t) Other issues which may be revealed in discovery.
 5          162.    Adequate Representation:        Plaintiffs will fairly and adequately protect the

 6   interests of putative Class Members. Plaintiffs have no interests that are antagonistic to those of

 7   putative Class Members. Plaintiffs retained attorneys experienced in the prosecution of class

 8   actions, including consumer and product defect class actions, and Plaintiffs intend to prosecute

 9   this action vigorously.

10          163.    Injunctive/Declaratory Relief:        The elements of Rule 23(b)(2) are met.

11   Defendants will continue to commit the unlawful practices alleged herein, and putative Class

12   Members will remain at an unreasonable and serious safety risk as a result of the Defect.

13   Defendants have acted and refused to act on grounds that apply generally to the putative Classes,

14   such that final injunctive relief and corresponding declaratory relief is appropriate respecting the

15   Classes as a whole.

16          164.    Predominance and Superiority: Plaintiffs and putative Class Members have all

17   suffered and will continue to suffer harm and damages as a result of Defendants’ unlawful and

18   wrongful conduct. A class action is superior to other available methods for the fair and efficient

19   adjudication of the controversy. Absent a class action, putative Class Members would likely find

20   the cost of litigating their claims prohibitively high and would therefore have no effective remedy

21   at law. Because of the relatively small size of putative Class Members' individual claims, it is

22   likely that few putative Class Members could afford to seek legal redress for Defendants’

23   misconduct. Absent a class action, putative Class Members will continue to incur damages, and

24   Defendants’ misconduct will continue without remedy. Class treatment of common questions of

25   law and fact would also be a superior method to multiple individual actions or piecemeal litigation

26   in that class treatment will conserve the resources of the courts and the litigants and will promote

27   consistency and efficiency of adjudication.

28
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 1           165.    Plaintiffs are not aware of any potential issues that would preclude the maintenance

 2   of this class action.

 3           166.    Defendants have acted or refused to act on grounds generally applicable to the

 4   putative Classes, thereby making final injunctive relief or corresponding declaratory relief with

 5   respect to the putative Classes appropriate.

 6
                                  FIRST CLAIM FOR RELIEF
 7           Breach of Implied Warranties and Song-Beverly Consumer Warranty Act
                               California Civil Code §§ 1790, et seq.
 8        (Plaintiffs Damato, Montgomery, and Maxwell, individually and on behalf of the
 9                                      Nationwide Class)

10
               167. Plaintiffs reassert the allegations set forth in all preceding paragraphs and
11
     incorporate such allegations by reference as if fully set forth herein.
12
               168. Plaintiffs bring this cause of action against Defendants individually and on behalf
13
     of the Nationwide Class.
14
               169. As described above, Plaintiffs have standing to pursue this claim because each
15
     named Plaintiff has suffered an injury-in-fact and has lost money or property as a result of
16
     Defendants’ conduct.
17
               170. Defendants were at all relevant times the manufacturer, distributor, warrantor,
18
     and/or seller of Morphe Eye Makeup. Defendants knew or had reason to know of the specific use
19
     for which Morphe Eye Makeup was purchased, as evidenced by Defendants’ marketing efforts,
20
     website(s), social media accounts, advertisements, and other statements that promote and
21
     encourage consumers to use the Products in the eye area.
22
               171. By placing Morphe Eye Makeup into the stream of commerce, Defendants
23
     provided Plaintiffs and Nationwide Class Members with implied warranties that Morphe Eye
24
     Makeup was merchantable and fit for the ordinary purposes for which it was sold.
25
               172. However, Morphe Eye Makeup is not fit for its ordinary purpose—use in the eye
26
     area—because it contains a Defect that renders the Products unreasonably dangerous and
27
     unsuitable for its intended use.
28
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 1          173. The problems associated with the Defect, such as staining of the skin and irritation

 2   of the eyes and surrounding area, prevents Morphe Eye Makeup from being safely used for its

 3   intended purpose, and thus constitutes a breach of the implied warranty of merchantability.

 4   These problems are caused by Defendants’ failure to adequately disclose to or warn Plaintiffs

 5   and consumers of the Defect and that Morphe Eye Makeup is not safe to use in the eye area

 6   because it poses a significant risk of injury.

 7          174. The Defect was undiscoverable by Plaintiffs and Nationwide Class Members at

 8   the time that they purchased Morphe Eye Makeup.

 9          175. Defendants impliedly warranted that Morphe Eye Makeup was of merchantable

10   quality and fit for such use. These implied warranties included, among other things: (i) a

11   warranty that Morphe Eye Makeup manufactured, supplied, distributed, and/or sold by

12   Defendants was safe and reliable for use as eyeshadow, eyeliner, or other cosmetic use in the

13   eye area; and (ii) a warranty that Morphe Eye Makeup would be fit for its intended use.

14          176. Contrary to the applicable implied warranties, Morphe Eye Makeup, at the time

15   of sale and thereafter, was not fit for its ordinary and intended purpose of providing Plaintiffs

16   and Nationwide Class Members with a cosmetic product that can be safely applied to the eye

17   area without risk of injury. Instead, Morphe Eye Makeup suffers from a defective design and/or

18   defective manufacturing, as alleged herein.

19          177. Defendants’ actions, as complained of herein, breached the implied warranties that

20   Morphe Eye Makeup was of merchantable quality and fit for such use in violation of Cal. Civ.

21   Code §§ 1791.1 and 1792.

22          178. Defendants’ intended beneficiaries of these implied warranties were ultimately

23   Plaintiffs and the Nationwide Class, not third-party retailers, resellers, or distributors who sold

24   the product. Moreover, Defendants exercised substantial control over which outlets can carry

25   and sell Morphe Eye Makeup, which are the same places that Plaintiffs and Nationwide Class

26   Members purchased the Products. In addition, Defendants’ warranties are in no way designed

27   to apply to the third-party retailers, resellers, or distributors who purchase the Products in bulk

28
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 1    and then sell it on an individual basis to consumers. Accordingly, these warranties are

 2    specifically designed to benefit the individual consumers who purchased Morphe Eye Makeup.

 3            179. Plaintiffs and Nationwide Class Members sustained damages as a direct and

 4   proximate result of Defendants’ breaches in that they paid an amount for the product that they

 5   would not have otherwise paid. Plaintiffs and the Nationwide Class also did not receive the value

 6   of the product they paid for—the products are worthless or worth far less than Defendants

 7   represent due to the Defect.

 8            180. Defendants’ conduct described in this complaint constitutes a breach of implied

 9   warranties under UCC §§ 2-314 and 2-315, as adopted in whole or in substance by statutes in all

10   50 states and the District of Columbia:

11
               Ala. Code § 7-2-314, et seq.; Alaska Stat. § 45.02.314, et seq.; Ariz. Rev.
12             Stat. § 47-2314, et seq.; Ark. Code § 4-2-314, et seq.; Cal. Com. Code § 2314,
               et seq.; Colo. Rev. Stat. § 4-2-314, et seq.; Conn. Gen. Stat. § 42a-2-314, et
13             seq.; 6 Del. C. § 2-314, et seq.; D.C. Code § 28:2-314, et seq.; Fla. Code §
14             672.314, et seq.; O.C.G.A. § 11-2-314, et seq.; Haw. Rev. Stat. § 490:2-314,
               et seq.; Idaho Code § 28-2-314, et seq.; 810 Ill. Comp. Stat. 5/2-314, et seq.;
15             Ind. Code § 26-1-2-314, et seq.; Iowa Code § 554.2314, et seq.; Kan. Stat. §
               84-2-314, et seq.; Ky. Rev. Stat. § 355.2-314, et seq.; La. Rev. Stat §
16             9:2800.53(6), et seq.; 11 M.R.S.A. § 2-314, et seq.; Md. Code Ann., Com.
               Law § 2-314, et seq.; Mass. Code 106, § 2-314, et seq.; Mich. Comp. Laws
17
               440.2314, et seq.; Minn. Stat. § 336.2-314, et seq.; Miss. Code § 75-2-314, et
18             seq.; Mo. Rev. Stat. § 400.2-314, et seq.; Mont. Code § 30-2-314, et seq.;
               Neb. U.C.C. § 2-314, et seq.; Nev. Rev. Stat. § 104.2314, et seq.; N.H. Rev.
19             Stat. § 382-A:2-314, et seq.; N.J. Stat. § 12A:2-314, et seq.; N.M. Stat. § 55-
               2-314, et seq.; N.Y. U.C.C. § 2-314, et seq.; N.C. Gen. Stat. § 25-2-314, et
20             seq.; N.D. Cent. Code § 41-02-30, et seq.; Ohio Rev. Code § 1302.26, et seq.;
21             Okla. Stat. Tit. 12A, § 2-314, et seq.; Or. Rev. Stat. § 72.3130, et seq.; 13 Pa.
               Cons. Stat. § 2314, et seq.; R.I. Gen. Laws § 6A-2-314, et seq.; S.C. Code §
22             36-2-313, et seq.; S.D. Codified Laws § 57A-2-313, et seq.; Tenn. Code §
               47-2- 314, et seq.; V.T.C.A., Bus. & C. § 2.314, et seq.; Utah Code § 70A-2-
23             314, et seq.; Vt. Stat. Tit. 9A, § 2-314, et seq.; Va. Code § 8.2-314, et seq.;
               Wash. Rev. Code § 62A.2-314, et seq.; W. Va. Code § 46-2-314, et seq.; Wis.
24             Stat. § 402.314, et seq.; and Wyo. Stat. § 34.1-2-314, et seq.
25
              181. Plaintiffs and the Nationwide Class have sustained, are sustaining, and will sustain
26
     damages if Defendants continue to engage in such deceptive, unfair, and unreasonable conduct.
27
28
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 1            182. As a result of the breach of the implied warranty of merchantability, Plaintiffs and

 2   Nationwide Class Members are entitled to legal and equitable relief, including injunctive relief,

 3   damages, attorneys’ fees, litigation expenses and costs, rescission, and/or other relief as deemed

 4   appropriate, for an amount to compensate them for not receiving the benefit of their bargain.

 5
                                 SECOND CLAIM FOR RELIEF
 6                                  (IN THE ALTERNATIVE)
                                        Unjust Enrichment
 7         (Plaintiffs Damato, Montgomery, and Maxwell individually and on behalf of the
 8                                      Nationwide Class)

 9          183.    Plaintiffs reassert the allegations set forth in all preceding paragraphs and
10   incorporate such allegations by reference as if fully set forth herein.
11
            184.    This alternative claim is asserted on behalf of Plaintiffs and Nationwide Class
12
     Members to the extent there is any determination that any warranties extended to Plaintiffs and
13
     Nationwide Class Members by Defendants do not govern the subject matter of the disputes with
14
15   Defendants, or that Plaintiffs do not have standing to assert such claims against Defendants.

16          185.    Plaintiffs and Nationwide Class Members conferred a monetary benefit on

17   Defendants, and Defendants received and had knowledge of this benefit. The retail price for each
18   Product ranges from $18.00 to $45.00.
19
            186.    By their wrongful acts and omissions described herein, including selling defective
20
     Morphe Eye Makeup, Defendants were unjustly enriched at the expense of Plaintiffs and
21
     Nationwide Class Members.
22
23          187.    Plaintiffs and Nationwide Class Members’ detriment and Defendants’ enrichment

24   were related to and flowed from the wrongful conduct alleged herein.

25          188.    Defendants have profited from their unlawful, unfair, misleading, and deceptive
26   practices at the expense of Plaintiffs and Nationwide Class Members under circumstances in
27
     which it would be inequitable for Defendants to retain the profits, benefits, and other
28
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     compensation obtained from their wrongful conduct, as described herein in connection with
 1
     selling the defective Morphe Eye Makeup.
 2
 3          189.    Plaintiffs and Nationwide Class Members have been damaged as a direct and

 4   proximate result of Defendants’ unjust enrichment because they would not have purchased the
 5   Morphe Eye Makeup on the same terms or for the same price if they had known that the Products
 6
     were defective or contained federally prohibited ingredients at the time of purchase.
 7
            190.    Defendants either knew or should have known that payments rendered by
 8
     Plaintiffs and Nationwide Class Members were given and received with the expectation that
 9
10   Morphe Eye Makeup was free of defects and was capable of providing the benefits represented

11   by Defendants in the labeling, marketing, and advertising of the Products. It is inequitable for

12   Defendants to retain the benefit of payments under these circumstances.
13          191.    Plaintiffs and Nationwide Class Members seek restitution from Defendants and an
14
     order from this Court proportionally disgorging all profits, benefits, and other compensation
15
     obtained by Defendants from their wrongful conduct and establishing a constructive trust from
16
     which Plaintiffs and Nationwide Class Members may seek restitution.
17
18          192.    When required, Plaintiffs and Nationwide Class Members are in privity with

19   Defendants because Defendants’ sale of Morphe Eye Makeup was either direct or through

20   authorized third-party retailers and resellers. Purchases through authorized retailers and resellers
21   are sufficient to create privity because authorized third parties are Defendants’ agents for the
22
     purpose of selling Morphe Eye Makeup.
23
            193.    As a direct and proximate result of Defendants’ wrongful conduct and unjust
24
     enrichment, Plaintiffs and Nationwide Class Members are entitled to restitution of, disgorgement
25
26   of, and/or imposition of a constructive trust upon all profits, benefits, and other compensation

27   obtained by Defendants for their inequitable and unlawful conduct.
28
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                                   THIRD CLAIM FOR RELIEF
 1                   Violation of the California False Advertising Law (“FAL”)
                      California Business and Professions Code §§ 17500, et seq.
 2     (Plaintiffs Damato and Montgomery individually and on behalf of the California Class)
 3
 4             194.        Plaintiffs reassert the allegations set forth in all preceding paragraphs and

 5   incorporate such allegations by reference as if fully set forth herein.

 6             195. Plaintiffs bring this cause of action against Defendants individually and on behalf

 7   of the California Class.

 8             196. The conduct described herein took place within the state of California and

 9   constitutes deceptive or false advertising in violation of California Business and Professions Code

10   §§ 17500, et seq.

11             197. California Business and Professions Code §§ 17500, et seq. prohibits deceptive

12   or misleading practices in connection with advertising or representations made for the purpose of

13   inducing, or which are likely to induce, consumers to purchase products.

14             198.        Defendants, when they marketed, advertised, and sold Morphe Eye Makeup,

15   represented to Plaintiffs and California Class Members that Morphe Eye Makeup was free of

16   defects and safe when, in reality, the Products contained Harmful Ingredients that render them

17   defective and unsafe.

18             199.        At the time of their misrepresentations and/or omissions, Defendants were

19   either aware that Morphe Eye Makeup was defective and unsafe or were aware that they lacked

20   the information and/or knowledge required to make such a representation truthfully. Defendants

21   concealed, omitted, and failed to disclose this information to Plaintiffs and California Class

22   Members.

23             200.        Defendants’ packaging and product descriptions were false, misleading, and

24   likely to deceive Plaintiffs and other reasonable consumers about the true nature of Morphe Eye

25   Makeup and the fact that it should not be used in the eye area.

26             201.        Defendants’ conduct therefore constitutes deceptive or misleading

27   advertising.

28
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 1             202.      Plaintiff Damato and Plaintiff Montgomery have standing to pursue claims

 2   under the FAL because they reasonably reviewed and relied on Defendants’ packaging,

 3   advertising, representations, and marketing materials when selecting and purchasing Morphe Eye

 4   Makeup.

 5             203.      In reliance on the statements made in Defendants’ advertising and marketing

 6   materials, and Defendants’ omissions and concealment of material facts regarding the quality and

 7   use of Morphe Eye Makeup, Plaintiffs and California Class Members purchased Morphe Eye

 8   Makeup.

 9             204.      Had Defendants disclosed the true defective nature of Morphe Eye Makeup,

10   Plaintiffs and California Class Members would not have purchased the Products or would have

11   paid substantially less for them.

12             205.      As a direct and proximate result of Defendants’ actions, as set forth herein,

13   Defendants have received ill-gotten gains and/or profits, including but not limited to money from

14   Plaintiff Damato, Plaintiff Montgomery, and California Class Members who purchased Morphe

15   Eye Makeup.

16             206.      Plaintiffs and California Class Members seek injunctive relief, restitution, and

17   disgorgement of any monies wrongfully acquired or retained by Defendants and by means of their

18   deceptive or misleading representations, including monies already obtained from Plaintiffs and

19   California Class Members as provided for by the California Business and Professions Code §§

20   17500, et seq.

21
                                  FOURTH CLAIM FOR RELIEF
22                   Violation of the California Consumer Legal Remedies Act
                               (“CLRA”), Civil Code §§ 1750, et seq.
23    (Plaintiffs Damato and Montgomery individually and on behalf of the California Class)
24
25             207.   Plaintiffs Damato and Montgomery reassert the allegations set forth in all

26   preceding paragraphs and incorporate such allegations by reference as if fully set forth herein.

27             208.   Plaintiffs Damato and Montgomery bring this cause of action individually and

28   on behalf of the California Class.

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 1             209.    The conduct described herein took place in the state of California and constitutes

 2   unfair methods of competition or deceptive acts or practices in violation of the Consumers Legal

 3   Remedies Act (“CLRA”), Civil Code §§ 1750, et seq.

 4             210.    The CLRA applies to all claims of all California Class Members because the

 5   conduct which constitutes violations of the CLRA by Defendants occurred within the state of

 6   California.

 7             211.    Plaintiffs and California Class Members are “consumers” as defined by Civil

 8   Code § 1761(d) because they purchased Morphe Eye Makeup for personal or household use.

 9             212.    Defendants are “person[s]” as defined by Civil Code § 1761(c).

10             213.    The Products are “goods” as defined by Civil Code § 1761(a).

11             214.    Plaintiffs and California Class Members’ purchases of Morphe Eye Makeup are

12   “transactions” as defined by Civil Code 25 § 1761(e).

13             215.    As set forth below, the CLRA deems the following unfair methods of

14   competition and unfair or deceptive acts or practices undertaken by any person in a transaction

15   intended to result or which does result in the sale or lease of goods or services to any consumer

16   as unlawful.
               (a)      “Representing that goods … have sponsorship, approval, characteristics,
17                      ingredients, uses, benefits, or quantities which they do not have.” Civil Code §
                        1770(a)(5); and
18
                (b)     “Representing that goods … are of a particular standard, quality, or grade, or
19                      that goods are of a particular style or model, if they are of another.” Civil Code
                        § 1770(a)(7).
20
21             216.     Defendants engaged in unfair competition or unfair or deceptive acts or

22   practices in violation of Civil Code §§ 1770(a)(5) and (a)(7) when they represented, through their

23   advertising and other express representations, that Morphe Eye Makeup had benefits or

24   characteristics that it did not actually have.

25             217.     As detailed in the body of this complaint, Defendants have repeatedly engaged

26   in conduct that violates the CLRA and have made false representations and statements to

27   consumers about Morphe Eye Makeup’s benefits, characteristics, and quality. Indeed, Defendants

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 1   concealed, omitted, and failed to disclose information and facts about the Products which are

 2   material to Plaintiffs and California Class Members.

 3            218.     Morphe Eye Makeup was not and is not “reliable,” in that the product is not

 4   safe and is of inferior quality and trustworthiness compared to other products in the industry. As

 5   detailed above, Defendants further violated the CLRA when they falsely represented that Morphe

 6   Eye Makeup meets a certain standard or quality.

 7            219.     As detailed above, Defendants violated the CLRA when they advertised

 8   Morphe Eye Makeup with the intent not to sell the Product as advertised and knew that Morphe

 9   Eye Makeup was not as represented.

10            220.     Defendants’ deceptive practices were specifically designed to induce Plaintiffs

11   and California Class Members to purchase Morphe Eye Makeup.

12            221.     Defendants engaged in uniform marketing efforts in order to reach and persuade

13   Plaintiffs and California Class Members to purchase Morphe Eye Makeup.                Defendants’

14   packaging, advertising, marketing, website, and retail product identification and specifications,

15   contain numerous omissions as well as false and misleading statements regarding the quality,

16   safety, and reliability of Morphe Eye Makeup.

17            222.    Despite Defendants omissions and representations, Defendants also concealed

18   information and material facts from Plaintiff Damato, Plaintiff Montgomery, and California Class

19   Members, who reasonably relied on Defendants’ representations and omissions of material facts.

20            223.    Defendants’ business practices are misleading and/or likely to mislead

21   reasonable consumers and should be enjoined.

22            224.    On March 18, 2022, Plaintiffs provided written notice to Defendants demanding

23   corrective actions pursuant to the Consumers Legal Remedies Act (“CLRA”), California Civil

24   Code § 1770, et seq. Plaintiffs will amend this complaint to add claims for monetary damages if

25   Defendants fail to take the corrective actions.

26            225.    In accordance with Civil Code § 1780(a), Plaintiffs and California Class

27   Members seek injunctive and equitable relief for Defendants’ violations of the CLRA, including

28   an injunction to enjoin Defendants from continuing their deceptive advertising and sales practices.

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 1            226.    Plaintiffs also seek punitive damages. Defendants’ conduct in deceiving

 2   customers and the public, including Plaintiffs, about the serious health consequences of using

 3   Morphe Eye Makeup for its intended purpose, concealing material information about the

 4   Products’ ingredients, and continuing to launch new products with the identical safety defect in

 5   violation of United States law even after Plaintiffs put Defendants on notice of the dangers, was

 6   so reckless or wanting in care that it constituted a conscious disregard or indifference to the life,

 7   safety, or rights of persons exposed to such conduct.

 8            227.    Defendants actively and knowingly participated in the dissemination of

 9   misrepresentations and concealment of material information related to the Products.

10            228.    Defendants’ malicious and fraudulent conduct must be punished to deter future

11   harm to others. Therefore, exemplary damages are appropriate under that the circumstances.

12            229.    Defendants have significant relationships with the State of California in regard

13   to the conduct giving rise to punitive damages and the law applicable to this particular issue.

14            230.    The malicious conduct described herein occurred and arose from Defendants’

15   headquarters in California from where Defendants made corporate decisions related to selling,

16   promoting, advertising, and labeling the Products. Therefore, Cal. Civ. Code § 3294 applies to

17   the punitive damages’ aspect of this case.

18            231.    Pursuant to California Civil Code § 1780(a)(1)-(5) and § 1780(e), Plaintiffs seek

19   an order enjoining Defendants from the unlawful practices described above, a declaration that

20   Defendants’ conduct violates the Consumers Legal Remedies Act, reasonable attorneys’ fees and

21   litigation costs, and any other relief the Court deems proper under the CLRA.

22
                                 FIFTH CLAIM FOR RELIEF
23                    Violations of The California Unfair Competition Law
                         (“UCL”), Cal. Bus. & Prof. Code §§ 17200, et seq.
24    (Plaintiffs Damato and Montgomery individually and on behalf of the California Class)
25
26            232. Plaintiffs Damato and Montgomery reassert the allegations set all preceding

27   paragraphs and incorporate such allegations by reference as if fully set forth herein.

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 1            233. Plaintiffs Damato and Montgomery bring this cause of action individually and on

 2   behalf of the California Class.

 3            234. Defendants are “person[s]” as defined by Cal. Bus. & Prof. Code § 17201.

 4            235. Plaintiff Damato, Plaintiff Montgomery, and California Class Members suffered

 5   an injury, by virtue of purchasing defective cosmetic products, because Defendants

 6   misrepresented and/or omitted material facts about the Products’ true quality, reliability, safety,

 7   use, and ingredients.

 8            236. Had Plaintiff Damato, Plaintiff Montgomery, and California Class Members

 9   known about Defendants’ misrepresentations and/or omissions of material fact, they would not

10   have purchased the Products or would have paid significantly less for them.

11            237. Defendants’ conduct, as alleged herein, violates the laws and public policies of

12   California and the federal government, as set out in the preceding paragraphs of this complaint.

13            238. There is no benefit to consumers or competition by allowing Defendants to

14   deceptively label, market, and advertise the Products.

15            239. Plaintiff Damato, Plaintiff Montgomery, and California Class Members had no

16   way of reasonably knowing that Morphe Eye Makeup was deceptively packaged, marketed,

17   advertised, and labeled, or that Morphe Eye Makeup was defective, unsafe, and unsuitable for its

18   intended use. Thus, Plaintiff Damato, Plaintiff Montgomery, and California Class Members could

19   not have reasonably avoided the harm they suffered. Further, this harm outweighs any legitimate

20   justification, motive or reason for packaging, marketing, advertising, and labeling the Products in

21   a deceptive and misleading manner. Accordingly, Defendants’ actions are immoral, unethical,

22   unscrupulous, and offend well-established public policies.

23            240. Unlawful Prong. A business act or practice is unlawful pursuant to the UCL if it

24   violates any other law or regulation.

25            241. Defendants’ conduct violates FDA regulations as discussed herein. Defendants

26   conducts also violates the CLRA.

27            242. Unfairness Prong. A business act or practice is unfair pursuant to the UCL if it is

28   immoral, unethical, oppressive, unscrupulous, or substantially injurious to consumers.

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 1          243.     Defendants’ unfair acts and practices include but are not limited to knowingly

 2   exposing consumers to unreasonable risk of injury by marketing and advertising the Products as

 3   eyeshadow when using the Products in this manner is inherently dangerous.

 4          244.     Fraudulent prong: A business act or practice is fraudulent pursuant to the UCL if

 5   it is likely to deceive members of the public.

 6          Defendants took active measures to deceive Plaintiffs by representing that the Products

 7   were safe for their intended purpose through marketing and advertising communications which

 8   instructs and encourages consumers to sue the Products in an unsafe manner. Plaintiffs relied on

 9   these representations to their detriment.

10          245.     Defendants’ actions, in disseminating misleading and deceptive statements to

11   consumers throughout the state of California, including Plaintiff Damato, Plaintiff Montgomery,

12   and California Class Members, were and are likely to deceive reasonable consumers by

13   obfuscating and omitting the Products’ true defective nature, and therefore constitute violations

14   of Cal. Bus. & Prof. Code §§ 17500, et seq.

15          246.     Plaintiff Damato, Plaintiff Montgomery, and California Class Members, seek

16   injunctive relief prohibiting Defendants from continuing their unlawful, unfair, and fraudulent

17   business practices, and all other equitable relief available to the fullest extent permitted by law.

18          247.     Plaintiffs and California Class Members are entitled to a full refund of the

19   Products’ purchase price because mislabeled cosmetics cannot legally be manufactured,

20   advertised, distributed, or sold, and thus, Morphe Eye Makeup is worthless as a matter of law

21                                    SIXTH CLAIM FOR RELIEF
                                        Negligence – Failure to Test
22                   (Plaintiffs individually and on behalf of the Nationwide Class)
23
24            248.    Plaintiffs reassert the allegations set forth in all preceding paragraphs and

25   incorporate such allegations by reference as if fully set forth herein.

26            249.    Plaintiffs bring this cause of action individually and on behalf of the Nationwide

27   Class pursuant to California law.

28
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 1              250.    Defendants failed to perform adequate testing of Morphe Eye Makeup, including

 2   testing the Products in the eye area.

 3              251.    If Defendants had performed adequate testing, it would have revealed the

 4   serious deficiencies within Defendants’ Products, including that use around the eye would lead

 5   to the unreasonably dangerous conditions described herein.

 6              252.    At all relevant times, Defendants had, and continues to have, a duty to exercise

 7   reasonable care to properly design—including the duty to test—their Morphe Eye Makeup

 8   products prior to placing them in the stream of commerce.

 9              253.    Defendants breached their duty by failing to exercise ordinary care in the design

10   and testing of Morphe Eye Makeup, which they introduced into the stream of commerce, because

11   Defendants knew or reasonably should have known that the Products could cause – and do cause

12   – injury when used as intended.

13              254.    Defendants knew or reasonably should have known that Nationwide Class

14   Members, including Plaintiffs, would suffer economic damages or injury and/or be at an

15   increased risk of suffering damage and injury, as a result of Defendants’ failure to exercise

16   ordinary care in the design and manufacturing of the Products by failing to conduct appropriate

17   testing.

18              255.    As a result of Defendants’ above-described conduct, Plaintiffs and the

19   Nationwide Class experienced and/or are at risk of experiencing financial damage and injury.

20              256.    As a direct and proximate result of Defendants’ failure to test Products that they

21   designed, constructed, manufactured, inspected, distributed, marketed, advertised, warranted,

22   and/or sold, Plaintiffs and Nationwide Class Members have suffered damages, as described

23   above.

24
                                      SEVENTH CLAIM FOR RELIEF
25                                       Negligence – Failure to Warn
                       (Plaintiffs individually and on behalf of the Nationwide Class)
26
27              257. Plaintiffs reassert the allegations set forth in all preceding paragraphs and
28   incorporate such allegations by reference as if fully set forth herein.
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 1            258. Plaintiffs bring this cause of action individually and on behalf of the Nationwide

 2   Class pursuant to California law.

 3            259. At all r elevant times, Defendants were responsible for formulating, designing,

 4   constructing, testing, manufacturing, inspecting, distributing, labeling, marketing, advertising,

 5   and/or selling the Products to Plaintiffs and the Nationwide Class. At all relevant times, it was

 6   reasonably foreseeable by Defendants that using the Products in their intended and/or forseeable

 7   manner involved a substantial risk of injury and was unreasonably dangerous to Plaintiffs and the

 8   Nationwide Class.

 9            260. At all relevant times, Defendants knew or had reason to know of the risk of injury

10   and the resultant harm that Morphe Eye Makeup posed to Plaintiffs and Nationwide Class

11   Members, as the Products’ Defect existed at the time of its design, construction, manufacture,

12   inspection, distribution, labeling, marketing, advertising, and/or sale, as described herein.

13            261. Defendants, as the designer, manufacturer, tester, distributor, marketer,

14   advertiser, and/or seller of Morphe Eye Makeup, had a duty to warn Plaintiffs and the

15   Nationwide Class of all dangers associated with the intended use of Morphe Eye Makeup.

16            262. At minimum, the duty arose for Defendants to warn consumers that use of

17   Morphe Eye Makeup could result in injury and become unreasonably dangerous, based, in part,

18   on internal testing, FDA regulations, and consumer complaints.

19            263. Defendants were negligent and breached their duty of care by negligently failing

20   to provide adequate warnings to purchasers and users of t h e P r o d u c t s , including

21   Plaintiffs and the Nationwide Class, regarding the Defect, risks, and potential dangers of Morphe

22   Eye Makeup.

23            264. Defendants were negligent and breached their duty of care by concealing the risks

24   of and failing to warn consumers that the Morphe Eye Makeup contains harmful color additives

25   that are not safe or FDA approved for use in the eye area.

26            265. Defendants knew, or through the exercise of reasonable care, should have

27   known of the inherent Defect and resulting dangers associated with using the Products as

28   described herein, and knew that Plaintiffs and Nationwide Class Members could not reasonably

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 1   be aware of those risks. Defendants failed to exercise reasonable care in providing Plaintiffs and

 2   the Nationwide Class with adequate warnings.

 3            266. As a direct and proximate result of Defendants’ failure to adequately warn

 4   consumers that the use of Morphe Eye Makeup could cause and has caused injuries and other

 5   damages, Plaintiffs and the Nationwide Class have suffered damages, as described herein.

 6
                                     EIGHTH CLAIM FOR RELIEF
 7                    Strict Products Liability – Defective Design & Manufacture
                     (Plaintiffs individually and on behalf of the Nationwide Class)
 8
 9            267.     Plaintiffs reassert the allegations set forth in all preceding paragraphs and
10   incorporate such allegations by reference as if fully set forth herein.
11            268.     Plaintiffs bring this cause of action individually and on behalf of the Nationwide
12   Class pursuant to California law.
13            269.     Morphe Eye Makeup was designed, manufactured, marketed, promoted, sold,
14   and introduced into the stream of commerce by Defendants.
15            270.     When the Morphe Eye Makeup left Defendants’ control, it was expected to and
16   did reach Plaintiffs and Nationwide Class Members without substantial change from the condition
17   in which it left Defendants’ control.
18            271.     Morphe Eye Makeup was defective when it left Defendants’ control and was
19   placed in the stream of commerce, in that there were foreseeable defects in the design and/or
20   manufacture of the Product, as well as use and care warnings.
21            272.     Combined with the use and care instructions and the complete absence of
22   appropriate warnings, Morphe Eye Makeup was in an unreasonably dangerous condition at the
23   time it left Defendants’ control and was placed in the stream of commerce, where it was purchased
24   by Plaintiffs and Nationwide Class Members.
25            273.     Morphe Eye Makeup was unfit for its intended use and was sold in a defective
26   condition that caused it to become unreasonably dangerous and unsuitable for its intended use.
27
28
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 1            274.     Plaintiffs and the Nationwide Class Members used Morphe Eye Makeup in

 2   substantially the same condition it was in when it left the control of Defendants and in the manner

 3   for which Morphe Eye Makeup was intended to be used.

 4            275.     Had Defendants altered its design and manufacturing process utilizing viable

 5   alternatives described supra, and in other ways to be discovered, Morphe Eye Makeup would not

 6   cause the injuries alleged.

 7            276.     Better and safer methods of design, manufacturing and packaging of Morphe

 8   Eye Makeup were available and utilized by other manufacturers in the same industry.

 9            277.     Likewise, warnings were available and could and should have been provided to

10   reduce the likelihood of personal injury and other damage.

11            278.     As a direct and proximate result of Defendants’ defective design and/or

12   manufacture of Morphe Eye Makeup, Plaintiffs and Nationwide Class Members suffered damages

13   and economic loss as set forth herein.

14            279.     Defendants are strictly liable to Plaintiffs and Nationwide Class Members for

15   all damages and economic losses resulting from their defective design and/or manufacture of

16   Morphe Eye Makeup

17            280.     As a direct and proximate result of the foregoing, Plaintiffs and the Nationwide

18   Class Members suffered, and continue to suffer, financial damage and injury, and are entitled to

19   all damages, in addition to costs, interest and fees, including attorneys’ fees, as allowed by law.

20
21                                        RELIEF DEMANDED

22          WHEREFORE, Plaintiffs, individually and on behalf of all others similarly situated, seek

23   a judgment against Defendants, as follows:

24              a.      For an order certifying the Classes under Fed. R. Civ. P. 23 and naming
                        Plaintiffs as Class Representative and Plaintiffs’ attorneys as Class Counsel;
25
26              b.      For an order declaring that Defendants’ conduct violates the statutes
                        referenced herein;
27
                c.      For an order finding in favor of Plaintiffs and the Classes on all counts asserted
28                      herein;

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 1            d.      For compensatory, statutory, and punitive damages in amounts to be
                      determined by the Court and/or jury;
 2
 3            e.      For prejudgment interest on all amounts awarded;

 4            f.      For an order of restitution and all other forms of equitable monetary relief;
 5            g.      For injunctive relief as pled or as the Court may deem proper; and
 6
              h.      For an order awarding Plaintiffs and the Classes their reasonable attorneys’
 7                    fees, expenses, and costs of suit.

 8
 9                                   JURY TRIAL DEMANDED

10       Plaintiffs demand a trial by jury on all claims so triable.

11
12
     DATED: April 1, 2022.                  Respectfully submitted,
13
14                                          /s/ Alex R. Straus
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28
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